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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                        §
                                                                  §    Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           §
                                                                  §    Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §
    CHARITABLE DAF FUND, L.P., AND CLO                            §
    HOLDCO, LTD., DIRECTLY AND                                    §
    DERIVATELY,                                                   §
                                                                  §
                                     Plaintiffs,                  §    Adversary Proceeding No.
                                                                  §
    vs.                                                           §    21-03067-sgj
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
    HIGHLAND HCF ADVISOR, LTD., AND                               §
    HIGHLAND CLO FUNDING LTD.,                                    §
    NOMINALLY,                                                    §
                                                                  §
                                     Defendants.                  §

                         SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 20, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via First Class Mail upon the service list attached
hereto as Exhibit A:

            Notice of Hearing [Docket No. 66]


Dated: October 22, 2021
                                                         /s/ Aljaira Duarte
                                                         Aljaira Duarte
                                                         KCC
                                                         222 N Pacific Coast Highway, Suite 300
                                                         El Segundo, CA 90245


1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                   Exhibit A
                                                          Supplemental Adversary Party
                                                           Served via First Class Mail

                           Description          CreditorName      CreditorNoticeName       Address1    City   State    Zip
                    Counsel for Highland CLO                                         1180 Peachtree
                    Funding Ltd.             King & Spalding LLP Jonathan W. Jordan  Street NE        Atlanta GA      30309




Highland Capital Management, L.P.
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